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                          United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

VICKI BAKER,                                     §
                                                 §
       Plaintiff,                                §
                                                 §
                                                 §    Civil Action No. 4:21-CV-00176
v.                                                    Judge Mazzant
                                                 §
CITY OF MCKINNEY, TEXAS,                         §
                                                 §
       Defendant.                                §
                                                 §

                                     FINAL JUDGMENT

       On June 20, 2022, this action came for trial before a jury. Both sides announced ready for

trial and, following the presentation of evidence, the jury was instructed to answer certain

questions. The jury returned a verdict on June 22, 2022. The jury found Defendant City of

McKinney, Texas acted under color of state law when it violated Plaintiff Vicki Baker’s

constitutional rights under the Fifth Amendment of the United States Constitution by depriving

her of her property without providing just compensation, and that this proximately caused Plaintiff

Vicki Baker’s damages. The jury awarded Plaintiff Vicki Baker $44,555.76 in just compensation

for the cost of repairs to her real property, and $15,100.83 in just compensation for the loss in

market value to her personal property. Plaintiff Vicki Baker elected to recover under her claim

brought under 42 U.S.C. § 1983.

       It is therefore CONSIDERED, ORDERED, AND ADJUDGED that Plaintiff Vicki

Baker recovers from Defendant City of McKinney, Texas a total judgment of $59,656.59 plus pre-

and post-judgment interest thereon at the rate provided by law. Additionally, all costs of court

spent or incurred in this cause are adjudged against Defendant City of McKinney, Texas
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         IT IS SO ORDERED.

         SIGNED this 22nd day of June, 2022.




                                   ___________________________________
                                   AMOS L. MAZZANT
                                   UNITED STATES DISTRICT JUDGE




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